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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                               CASE NO. 18-62942-CIV-DIMITROULEAS/SNOW

    ABS-CBN CORPORATION, et al.,

                    Plaintiffs,
    vs.

    CINESILIP.SU, et al.,

                    Defendants.
                                                     /

                 FINAL DEFAULT JUDGMENT AND PERMANENT INJUNCTION

           THIS CAUSE is before the Court upon Plaintiffs’ Motion for Entry of Final Default

   Judgment Against Defendants (the “Motion”) [DE 27], filed herein on March 12, 2019. The Court

   granted the Motion in an Order entered separately today. Pursuant to Federal Rule of Civil

   Procedure 58(a), the Court enters this separate final judgment.

           Accordingly, it is ORDERED AND ADJUDGED that Final Default Judgment is hereby

   entered in favor of Plaintiffs, ABS-CBN Corporation, ABS-CBN Film Productions, Inc. d/b/a Star

   Cinema, and ABS-CBN International Corporation (“Plaintiffs”), and against Defendants, the

   Individuals, Partnerships, and Unincorporated Associations identified on Schedule “A” hereto

   (collectively “Defendants”) as follows:

           (1)     Permanent Injunctive Relief:

           Defendants and their officers, agents, servants, employees and attorneys, and all persons

   acting in concert or participation with Defendants are hereby permanently restrained and enjoined

   from:

                   a.      advertising, promoting, performing, copying, broadcasting, and/or
                           distributing any of Plaintiffs’ content or copyrighted works, including but
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                    not limited to those works identified in Paragraph 26 of the Complaint,
                    Schedule D thereto, and in Exhibit 3 thereto;

              b.    advertising, promoting, offering, using, or causing to be advertised,
                    promoted, or offered, services using Plaintiffs’ registered or common law
                    trademarks identified in Paragraphs 14 and 18 of the Complaint and in
                    Schedules “B” and “C” attached thereto (the “ABS-CBN Marks”);

              c.    using the ABS-CBN Marks in connection with any unauthorized services
                    or performances of Plaintiffs’ copyrighted works;

              d.    using any logo, and/or layout which may be calculated to falsely advertise
                    the services or products of Defendants as being sponsored by, authorized
                    by, endorsed by, or in any way associated with Plaintiffs;

              e.    falsely representing themselves as being connected with Plaintiffs, through
                    sponsorship or association;

              f.    engaging in any act which is likely to falsely cause members of the trade
                    and/or of the public to believe any content or services of/provided by
                    Defendants are in any way endorsed by, approved by, and/or associated
                    with Plaintiffs;

              g.    using any reproduction, counterfeit, copy, or colorable imitation of the
                    ABS-CBN Marks in connection with the publicity, promotion, distribution,
                    or advertising of any content or services by Defendants;

              h.    affixing, applying, annexing or using in connection with the sale of any
                    goods, a false description or representation, including words or other
                    symbols tending to falsely describe or represent Defendants’ content or
                    services offered by Defendants as being those of Plaintiffs or in any way
                    endorsed by Plaintiffs;

              i.    otherwise unfairly competing with Plaintiffs;

              j.    using the ABS-CBN Marks, or any confusingly similar trademarks, within
                    domain name extensions, metatags or other markers within website source
                    code, from use on any webpage (including as the title of any web page),
                    from any advertising links to other websites, from search engines’
                    databases or cache memory, and from any other form of use of such terms
                    which is visible to a computer user or serves to direct computer searches to
                    websites registered by, owned, or operated by Defendants; and

              k.    effecting assignments or transfers, forming new entities or associations or
                    utilizing any other device for the purpose of circumventing or otherwise
                    avoiding the prohibitions set forth above.


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        (2)   Additional Equitable Relief:

              a.     In order to give practical effect to the Permanent Injunction, the domain
                     names identified on Schedule “A” hereto (the “Subject Domain Names”)
                     are hereby ordered to be immediately transferred by Defendants, their
                     assignees and/or successors in interest or title, and the Registrars to
                     Plaintiffs’ control. To the extent the current Registrars do not facilitate the
                     transfer of the Subject Domain Names to Plaintiffs’ control within five (5)
                     days of receipt of this judgment, the Registries shall, within thirty (30) days,
                     change the Registrar of Record for the Subject Domain Names to a
                     Registrar of Plaintiffs’ choosing, and that Registrar shall transfer the
                     Subject Domain Names to Plaintiffs;

              b.     Upon Plaintiffs’ request, the top level domain (TLD) Registry for each of
                     the Subject Domain Names, or their administrators, including backend
                     registry operators or administrators, within thirty (30) days of receipt of this
                     Order, shall place the Subject Domain Names on Registry Hold status for
                     the life of the current registration, thus removing them from the TLD zone
                     files maintained by the Registries which link the Subject Domain Names to
                     the IP addresses where the associated websites are hosted; and

              c.     Defendants, their agent(s) or assign(s), shall assign all rights, title, and
                     interest, to their Subject Domain Name(s) to ABS-CBN and, if within five
                     (5) days of receipt of this Order Defendants fail to make such an
                     assignment, the Court shall order the act to be done by another person
                     appointed by the Court at Defendants’ expense, such as the Clerk of Court,
                     pursuant to Federal Rule of Civil Procedure 70(a).

        (3)   Statutory damages in favor of Plaintiffs pursuant to 15 U.S.C. § 1117(c):

              a.     Award Plaintiffs damages of $1,000,000.00 against each Defendant, for
                     which let execution issue;

        (4)   Statutory damages in favor of Plaintiffs pursuant to 17 U.S.C. § 504(c) are

              determined to be:

              a.     $30,000.00 against Defendant Number 4 – filikulamo.tk, for which let
                     execution issue;

              b.     $30,000.00 against Defendant Number 6 – fullpinoymovies.net, for which
                     let execution issue;

              c.     $30,000.00 against Defendant Number 15 – pinoymovies.site, for which let
                     execution issue;


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              d.     $30,000.00 against Defendant Number 24 – sunjerhd.com, for which let
                     execution issue;


        (5)   All funds currently restrained by the advertising services, networks, and/or

              platforms identified in Schedule “B” hereto (the “Advertising Services”), and their

              related companies and affiliates, pursuant to the temporary restraining order and

              the preliminary injunction in this action are to be immediately (within 5 business

              days) transferred to Plaintiffs in partial satisfaction of the monetary judgment

              entered herein against each Defendant. The Advertising Services shall provide to

              Plaintiffs at the time the funds are released, a breakdown reflecting the (i) total

              funds restrained in this matter per Defendant; (ii) the total chargebacks, refunds,

              and/or transaction reversals deducted from each Defendant’s funds restrained prior

              to release; and (iii) total funds released per Defendant to the Plaintiffs.

        (6)   Interest from the date this action was filed shall accrue at the legal rate. See 28

              U.S.C. § 1961.

        (7)   The bond posted by Plaintiffs in the amount of $10,000.00 is hereby ordered

              released by the Clerk.

        (8)   The Court retains jurisdiction to enforce this Judgment and permanent injunction.

        (9)   Plaintiffs are ordered to serve a copy of this Order upon Defendants (a) via e-mail

              to the e-mail addresses provided by each Defendant as part of the domain

              registration records for each of their respective domain names, including service

              via registrar, or directly on the Internet websites operating under each of their

              corresponding domain names, including customer service e-mail addresses and

              onsite contact forms, or via the social media platform e-mail for each of the




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                 Defendants’ social media accounts; and (b) by posting a true and accurate copy of

                 the     foregoing     on      the     Internet     website      appearing      at

                 http://servingnotice.com/BF1SS/index.html.

          (10)   The Clerk is directed to CLOSE this case and DENY any pending motions as

                 moot.

          DONE AND ORDERED in Chambers in Fort Lauderdale, Broward County, Florida, this

   27th day of March, 2019.




   Copies provided to:
   Counsel of Record




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                               SCHEDULE “A”
               DEFENDANTS BY NUMBER AND SUBJECT DOMAIN NAME

                         Def. No.            Domain Name
                                1   cinesilip.su
                                1   pariwikitv.su
                                1   pinoyhd.su
                                2   dilsediltakdrama.net
                                3   dramaofw.su
                                3   dramaofw.ch
                                4   filikulamo.tk
                                5   filipinoshows.su
                                5   filipinotvshows.su
                                5   ofwpinoytambayan.su
                                6   fullpinoymovies.net
                                7   lambingansu.net
                                8   pariwiki.su
                                8   vidco.su
                                9   pinoy1tvhd.su
                               10   pinoyako.co
                               11   pinoychannelflix.su
                               12   pinoychannelofw.su
                               13   pinoyflixtv.com
                               14   pinoylambingan.info
                               15   pinoymovies.site
                               16   pinoytambayanchannel.com
                               17   pinoytambayanlambingans.com
                               18   pinoytambayanlive.su
                               18   cinesilipsu.net
                               19   pinoytvb.com
                               20   pinoytvlovershd.com
                               21   pinoytvplus.com
                               22   pinoytvreplay.su
                               23   pinoytvreplays.co
                               24   sunjerhd.com
                               25   tambayand.com
                               25   lqnabc.info
                               25   tambayane.com
                               26   telebesyon.com
                               27   yztv.online
                               27   yztv.pw
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                                SCHEDULE “B”
       DEFENDANTS BY NUMBER, SUBJECT DOMAIN NAME, ADVERTISING ACCOUNT
                INFORMATION, AND ASSOCIATED E-MAIL ADDRESSES

                                  Advertising
   Def.         Domain              Service/                Account              Associated
   No.           Name              Platform                Identifier            E-mail(s)
                                 Google
                                 Adsense,             ca-pub-              javirock906@gmail.co
   1      cinesilip.su           Google LLC           8198232054412351     m
                                 Google
                                 Adsense,             ca-pub-              javirock906@gmail.co
   1      pariwikitv.su          Google LLC           3665264874099092     m
                                 Google
                                 Adsense,             ca-pub-              javirock906@gmail.co
   1      pinoyhd.su             Google LLC           8198232054412351     m
                                                      div-gpt-ad-
                                                      1541063367318-0
                                                      div-gpt-ad-
          dilsediltakdrama.net   Google               1541063451088-0      98e685e3f9f74bd982a1
          (Framed on             DoubleClick,         div-gpt-ad-          e855a10f60aa.protect@
   2      tfctvshows.ga)         Google LLC           1541063506421-0      whoisguard.com
                                 Google
                                 Adsense,             ca-pub-              vhungcc.kd@gmail.co
   3      dramaofw.su            Google LLC           9226293809914322     m
                                 N/A redirects        N/A redirects
   3      dramaofw.ch            to dramaofw.su       to dramaofw.su       N/A
                                 AdsKeeper,
                                 Hardware
                                 Solution
   4      filikulamo.tk          Limited              filikulamo.tk        N/A
                                 Google
                                 Adsense,             ca-pub-
   5      filipinoshows.su       Google LLC           4114366130058641     tiagotifa@yahoo.com
                                 Google
          ofwpinoytambayan.s     Adsense,             ca-pub-
   5      u                      Google LLC           9431595196029395     tiagotifa@yahoo.com
                                 Revcontent,
                                 Revcontent,
   5      filipinotvshows.su     LLC                  rcjsload_10df2c      tiagotifa@yahoo.com
                                 RevenueHits,                              6437622@whoisprotect
   6      fullpinoymovies.net    Intango Ltd.         tid=92782_468779_1   ion.biz
                                 Taboola                                   contact@privacyprotect
   7      lambingansu.net        Taboola, Inc.        lambingan            .org
                                 Google               ca-pub-              waqarkhanmalghani@g
   8      vidco.su               Adsense,             8827305951524896     mail.com


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                                 Advertising
   Def.         Domain             Service/                  Account             Associated
   No.           Name             Platform                  Identifier           E-mail(s)
                                Google LLC

                                mgid.com,
                                MGID Inc.                                  waqarkhanmalghani@g
   8      pariwiki.su           MGID UA               pariwiki.su          mail.com
                                Google
                                Adsense,              ca-pub-
   9      pinoy1tvhd.su         Google LLC            3443367408593548     koreamitti@gmail.com
                                Google
                                Adsense,              ca-pub-              pinoyako.co@gmail.co
   10     pinoyako.co           Google LLC            2838404477920338     m
                                Google
                                Adsense,              ca-pub-
   11     pinoychannelflix.su   Google LLC            2298926256267506     paktvsite@gmail.com
                                Google
                                Adsense,              ca-pub-              kathleengil224@gmail.
   12     pinoychannelofw.su    Google LLC            8008043498317742     com
                                                                           pw-
                                Google                                     a0c0067303966fa1451e
                                DoubleClick,          div-gpt-ad-          ff3359aa4eb6@privacy
   13     pinoyflixtv.com       Google LLC            1542804772125-0      guardian.org
                                Google
                                Adsense,              ca-pub-              pinoylambingan.info@
   14     pinoylambingan.info   Google LLC            4226698868686867     domainsbyproxy.com
                                popads.net,
                                Tomksoft
   15     pinoymovies.site      S.A.                  2901992              N/A
                                                                           https://whoiscontact.sec
                                                                           ure-
                                Google                                     admin.com/?token=593
          pinoytambayanchan     Adsense,              ca-pub-              A8A20-EB65-4878-
   16     nel.com               Google LLC            2666935058879977     818D-F32917D37DCB
          pinoytambayanlambi
   17     ngans.com          N/A                      N/A                  N/A
                                                                           pw-
                                Google                                     89b1d4df9d6007385b6f
                                Adsense,              ca-pub-              a40cf592ab0a@privacy
   18     cinesilipsu.net       Google LLC            4580510514716350     guardian.org
                                N/A redirects
          pinoytambayanlive.s   to                    N/A redirects        bepanahcolorstv1@gm
   18     u                     cinesilipsu.net       to cinesilipsu.net   ail.com



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                                Advertising
   Def.         Domain           Service/                  Account              Associated
   No.           Name            Platform                 Identifier            E-mail(s)
                                                                          pw-
                                                                          f58169373123b4021cf6
                                                                          9826bfff2492@privacy
   19     pinoytvb.com         N/A                  N/A                   guardian.org
                                                                          af54ab188fcc4e21b99e
                              Taboola                                     993f725ca0c8.protect@
   20     pinoytvlovershd.com Taboola, Inc.         techrapidly-pinoytv   whoisguard.com
                                                                          95a25126b69547d78cb
                               Taboola              techrapidly-          94d32f2b8beeb.protect
   21     pinoytvplus.com      Taboola, Inc.        pinoytvplus           @whoisguard.com
                               Google
                               Adsense,             ca-pub-
   22     pinoytvreplay.su     Google LLC           1651216597970128      herpalasif@gmail.com
                               Google
                               Adsense,             ca-pub-
   23     pinoytvreplays.co    Google LLC           8051557725411837      N/A
                               AdsKeeper,
                               Hardware
                               Solution                                   sunjerhd.com@domain
   24     sunjerhd.com         Limited              sunjerhd.com          sbyproxy.com
                               Google
                               Adsense,             ca-pub-               sunjerhd.com@domain
   24     sunjerhd.com         Google LLC           4129485395961669      sbyproxy.com
                                                                          2f6e6adb362c4adc8373
                               Google                                     0a2ee8cc9fcb.protect@
                               Adsense,             ca-pub-               whoisguard.com
   25     tambayane.com        Google LLC           2928852312410693      admin@aliwan.info
                               N/A, redirects                             caa3c2f43a7740b7bf8d
                               to                   N/A, redirects        691921d2bc95.protect
   25     tambayand.com        tambayane.com        to tambayane.com      @whoisguard.com
                               N/A, redirects
                               to                   N/A, redirects
   25     lqnabc.info          tambayane.com        to tambayane.com      N/A
                               Google
                               Adsense,             ca-pub-               telebesyon.com@domai
   26     telebesyon.com       Google LLC           7559543077218518      nsbyproxy.com
                               AdsKeeper,
                               Hardware
                               Solution
   27     yztv.pw              Limited              yonipzone.rocks       N/A
                               Google
                               Adsense,             ca-pub-
   27     yztv.pw              Google LLC           4797266658649202      N/A


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                             Advertising
    Def.         Domain        Service/                 Account           Associated
    No.           Name         Platform                Identifier         E-mail(s)
                           N/A, redirects        N/A, redirects
    27     yztv.online     to yztv.pw            to yztv.pw         N/A




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